         Case 1:24-mc-00016-MKV Document 11 Filed 01/13/24 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


ADVENT INTERNATIONAL
CORPORATION,
                                                   Misc. Case No. 1:24-mc-00016
                      Petitioner,
                                                   Underlying Action:
              v.
                                                   Servicios Funerarios GG, S.A. de C.V. v.
ANDRE EL-MANN ARAZI, GONZALO                       Advent International Corporation, Case No.
PEDRO ROBINA IBARRA, FIBRA UNO                     23-CV-10684-IT (D. Mass.)
ADMINISTRACION S.A. DE C.V.

                      Respondents.


To the Clerk of the Court and All Counsel of Record:

       PLEASE TAKE NOTICE that the undersigned hereby appears in this case as counsel of

record for Petitioner Advent International Corporation, n/k/a Advent International, L.P.

       I hereby certify that I am a member in good standing of the bar of this Court.

Dated: New York, New York                        Respectfully submitted,
       January 12, 2024
                                                 QUINN EMANUEL URQUHART &
                                                   SULLIVAN, LLP



                                                 By: /s/ Nicholas A.S. Hoy
                                                    Nicholas A. S. Hoy
                                                    QUINN EMANUEL URQUHART &
                                                    SULLIVAN, LLP
                                                    51 Madison Avenue, 22nd Floor
                                                    New York, New York 10010
                                                    (212) 849-7000
                                                    nicholashoy@quinnemanuel.com

                                                     Attorneys for Petitioner
